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                                                   U.S. Department of Justice

                                                   United States Attorney
                                                   Southern District of New York


                                                   86 Chambers Street, 3rd Floor
                                                   New York, New York 10007

                                                   August 5, 2019
BY ECF AND FACSIMILE
Hon. Paul G. Gardephe
United States District Judge
United States Courthouse
40 Foley Square
New York, NY 10007

              Re:      United States v. Novartis, No. 11 Civ. 0071 (PGG)

Dear Judge Gardephe:

        The parties in the above-referenced case jointly request that the pending motions that
have been filed in the above-referenced case at ECF Nos. 247, 249, 251, 255, 256, 258, 260, 277,
305, 307, 310, and 312 be deemed withdrawn. The parties respectfully request that the Court
enter an order terminating these pending motions without prejudice to renewal.


                                                   Respectfully,

                                                   GEOFFREY S. BERMAN
                                                   United States Attorney

                                            By:      /s/ Jeannette A. Vargas
                                                   JEANNETTE VARGAS
                                                   PIERRE ARMAND
                                                   MÓNICA FOLCH
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